                             Case 12-36850-JKO                   Doc 43          Filed 02/19/13              Page 1 of 3
CGFD26 (12/20/11)




ORDERED in the Southern District of Florida on February 19, 2013




                                                                        John K Olson
                                                                        United States Bankruptcy Judge


                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 12−36850−JKO
                                                                                                                 Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Junior Cammock                                                                Marlene Cammock
1905 NW 98th Ave.                                                             1905 NW 98th Ave.
Pembroke Pines, FL 33024                                                      Pembroke Pines, FL 33024

SSN: xxx−xx−9129                                                              SSN: xxx−xx−5310




                                             ORDER CONFIRMING CHAPTER 13 PLAN


      This cause came before the court on 2/4/13 for confirmation of the debtor's proposed Fourth
Amended chapter 13 plan pursuant to Local Rule 3015−3(B)(2). Based on the record, including the
debtor's "Certificate of Compliance and Request for Confirmation on Chapter 13 Plan", it is

ORDERED as follows:


   1. The debtor's chapter 13 plan (the "Plan") meets with the provisions of 11 U.S.C. § 1325 and, if
      applicable, § 521 and 1308, and is, therefore, confirmed in accordance with its terms.




                                                                    Page 1 of 3




   2. Any claim entitled to priority under 11 U.S.C. § 507 shall be paid in full, in periodic installments, in
                  Case 12-36850-JKO         Doc 43     Filed 02/19/13     Page 2 of 3
    the order of priority prescribed by the Bankruptcy Code over the period of the Plan as required by 11
    U.S.C. § 1322(a)(2), with postpetition interest as required by 11 U.S.C. § 506(b) payable on the
    secured portion of the claim.

3. The debtor's first monthly payment to the Trustee under the Plan was required to commence not
   later than 30 days following November 7, 2012, the date the petition was filed, or within 30 days
   from the date of conversion to chapter 13. The Trustee shall begin disbursement to creditors
   pursuant to the Plan as soon as practicable upon entry of this order.

4. If the Plan does not provide for payments to a secured creditor, such creditor is granted in rem stay
   relief to pursue available state court remedies against any property of the debtor which secures the
   creditor's claim.

5. Any executory contract or unexpired lease of the debtor which has not been assumed pursuant to
   court order prior to entry of this order, or which is not assumed in the Plan confirmed by this order, is
   deemed rejected upon entry of this order.

6. If the confirmed plan in this case provides for payment to holder(s) of tax certificates on property of
   the debtor, the following provisions shall apply:

          A. To ensure that the records of the County Tax Collector credit amounts received by
             certificate holders, upon receipt of information pursuant to subparagraph B below, the
             Tax Collector is ordered to adjust the County tax records and reduce both the amount
             owed on tax certificates and the amount of the tax lien to reflect payments made by the
             Chapter 13 Trustee to certificate holders under the confirmed plan.

          B. The Tax Collector shall be served with any order entered post−confirmation which (a)
             dismisses or converts this case; (b) grants stay relief to the holder of a secured claim on
             the property subject to the tax certificates; (c) approves a sale or refinancing of the
             property subject to the tax certificates; (d) modifies the plan to eliminate further payments
             to one or more certificate holders; or (e) discharges the debtor upon completion of the
             plan. Upon receipt of any such order, the Tax Collector shall request a ledger from the
             Chapter 13 Trustee reflecting the amounts paid to certificate holders under the confirmed
             plan, or obtain the ledger information by accessing the Chapter 13 Trustee's website.

          C. During the period in which the certificate holders are receiving payments under the
             confirmed plan, unless otherwise ordered, the Tax Collector is enjoined from accepting a
             redemption payment for any certificate which is included in the plan. This injunction will
             dissolve without further order of the Court if (a) one of the orders described in
             subparagraph B is entered; and (b) the County has complied with the requirements in
             subparagraph A by reducing both the amount owed on any certificate paid or partially
             paid under the plan and the amount of the tax lien by the amount paid to the certificate
             holder as reflected in the Chapter 13 Trustee's ledger.

7. Pursuant to Local Rule 3070−1(C)(2), if the debtor fails to timely make any Plan payment to the
   Trustee, the Trustee may serve a "Notice of Delinquency" upon the debtor and the debtor's attorney.
   The debtor shall have 45 days from the date of the "Notice of Delinquency" to make all payments
   due under the Plan, including any payments that become due within the 45−day period. If the debtor
   is seeking to cure the delinquency in a modified plan the debtor must file a motion to modify the
   confirmed plan within 14 days of the date of the "Notice of Delinquency". If the debtor is not current
   with plan payments on the 45th day after the date of the "Notice of Delinquency", the Trustee shall
   file and serve a report of non−compliance and the case will be dismissed without further notice or
   hearing. Dismissal shall be with prejudice to the debtor filing any new bankruptcy case in any
   federal bankruptcy court in the United States for a period of 180 days from entry of the order of
   dismissal. The court will not extend these deadlines absent extraordinary circumstances.


                                              Page 2 of 3
                         Case 12-36850-JKO               Doc 43        Filed 02/19/13   Page 3 of 3

  8. To the extent the Plan sought a determination of valuation pursuant to Bankruptcy Rule 3012, and
     no objections were filed or any objections were resolved, the terms of the Plan will be binding upon
     the affected secured creditors, and any allowed proof of claim will be secured only to the extent of
     the value as provided for in the Plan and unsecured as to the balance of the claim.



The clerk shall serve a copy of this order on all parties of record.




                                                               ###




                                                           Page 3 of 3
